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February 23, 2017


M. Judge Arlene R. Lindsey
U.S. District Court – EDNY
814 Federal Plaza
Central Islip, New York 11722

       Re:     Tatiana Herdocia et al v. Southern Wine & Spirits of America, Inc. et al
               Case No. 14-CV-3196 (DRH)(ARL)
               Joint Motion for Extension of Discovery and Motion Practice

Dear Judge Lindsey:

Please be reminded that my office represents the plaintiffs in the above-referenced matter. After
our most recent status conference, counsel for Defendant Local 1D advised me that he was
unavailable for most of the dates proposed for the remaining depositions. Counsels and I
discussed this matter and agreed to submit a joint request for a two (2) week extension of the
deposition deadline as well as defendants’ deadline to file their respective motions for summary
judgment. Thank you for considering our request.


Respectfully submitted,

Jose G. Santiago
Jose G. Santiago, Esq.
